Case 22-41362   Doc 12   Filed 05/24/22 Entered 05/24/22 15:08:41   Main Document
                                      Pg 1 of 2


                     UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF MISSOURI
                            EASTERN DIVISION

IN RE:                               )
                                     )     Case No. 22-41362
KOBI GILKEY,                         )
                                     )     Chapter 13 Bankruptcy
      Debtor.                        )

                MOTION TO PURCHASE AUTOMOBILE AND NOTICE

                                     NOTICE

WARNING: THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT
YOU. IF YOU OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY CONTACT
THE MOVING PARTY TO RESOLVE THE DISPUTE. IF YOU AND THE MOVING
PARTY CANNOT AGREE, YOU MUST FILE A RESPONSE AND SEND A COPY TO
THE MOVING PARTY. YOU MUST FILE AND SERVE YOUR RESPONSE WITHIN
14 DAYS OF THE DATE THIS WAS SERVED ON YOU. YOUR RESPONSE MUST
STATE WHY THE MOTION SHOULD NOT BE GRANTED. IF YOU DO NOT FILE
A TIMELY RESPONSE, THE RELIEF MAY BE GRANTED WITHOUT FURTHER
NOTICE TO YOU. IF YOU OPPOSE THE MOTION AND HAVE NOT REACHED AN
AGREEMENT, YOU MUST ATTEND THE HEARING, THE DATE OF WHICH WILL
BE SENT TO YOU IF YOU FILE A RESPONSE. UNLESS THE PARTIES AGREE
OTHERWISE, THE COURT MAY CONSIDER EVIDENCE AT THE HEARING AND
MAY DECIDE THE MOTION AT THE HEARING.

REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEYS.

      COMES NOW Debtor, by and through undersigned counsel, and
for this Motion to Purchase Automobile, states to this Court as
follows:
      1. Debtor filed this Chapter 13 proceeding in the Eastern
District of Missouri, Eastern Division, on May 5, 2022.
      2. Debtor is surrendering his 2020 GMC Terrain to Santander
through his First Amended Chapter 13 Plan, and is in need of
reliable transportation.
      3. Debtor would like to purchase an automobile with the
following terms:
         a. Approximate loan amount: $20,198.00;
         b. Estimated duration of payments: 72 months;
Case 22-41362   Doc 12   Filed 05/24/22 Entered 05/24/22 15:08:41   Main Document
                                      Pg 2 of 2


         c. Estimated interest rate: 24.99%; and
         d. Monthly payments not to exceed: $499.99.
       WHEREFORE, Debtor respectfully prays this Honorable Court
allow the purchase of a vehicle with the above terms, or a
similarly priced vehicle with similar terms, and for what other
and further orders as this Court deems just and appropriate.
                                      /s/Robert E. Faerber
                                     Robert E. Faerber #46794MO
                                     Attorney for Debtor
                                     230 S. Bemiston, Ste. 600
                                     Clayton, Missouri 63105
                                     Tel: 314/727-3434
                                     Fax: 314/727-6992
                                     Email: faerber@msn.com

                           CERTIFICATE OF SERVICE

     I certify that a true and correct copy of this Motion to
Purchase Automobile was filed electronically on May 24, 2022
with the United States Bankruptcy Court, and has been served on
the parties in interest via e-mail by the Court’s CM/ECF System
as listed on the Court’s Electronic Mail Notice List.

Diana S. Daugherty (standing_trustee@ch13stl.com)
Office of U.S. Trustee (USTPRegion13.SL.ECF@USDOJ.gov)

                                      /s/Robert E. Faerber
